          Case 2:14-mj-00410-JPD            Document 22       Filed 10/31/14     Page 1 of 2




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 6                            UNITED STATES DISTRICT COURT
 7                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 8
     UNITED STATES OF AMERICA,                            NO. MJ14-410
 9
                                   Plaintiff,
10

11          v.                                            DETENTION ORDER

12   MATT NICKA,

13                                 Defendant.
14

15   Offenses charged:

16          Count 1:           Conspiracy to Distribute 1000 Kilograms or More of Marijuana

17          Count 2:           Money Laundering Conspiracy

18          Count 3:           Money Laundering
19          Count 4:           Maintaining Drug Involved Premises
20          Counts 6 & 10:     Maintaining Drug Involved Premises
21
            Count 11:          Travel Act
22
            Counts 13 & 15     Distribution and Possession With Intent to Distribute Marijuana
23
     Date of Detention Hearing: October 30, 2014.
24
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
25
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds
26
     the following:

     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 1
          Case 2:14-mj-00410-JPD           Document 22        Filed 10/31/14      Page 2 of 2




 1          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

 2          1.      Defendant was not interviewed so his ties to this jurisdiction are unknown.

 3          2.      Defendant has stipulated to detention, but reserves the right to contest his

 4   continued detention when he makes his initial appearance on this charge in the District of

 5   Maryland.

 6          3.      There are no conditions or combination of conditions other than detention that

 7   will reasonably assure the appearance of defendant as required or ensure the safety of the

 8   community, pending his initial appearance in the District of Maryland.

 9          IT IS THEREFORE ORDERED:

10          (1)     Defendant shall be detained pending his initial appearance in the District of

11                  Maryland and shall be committed to the custody of the Attorney General for

12                  confinement in a correction facility separate, to the extent practicable, from

13                  persons awaiting or serving sentences or being held in custody pending appeal;

14          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

15                  counsel;

16          (3)     On order of a court of the United States or on request of an attorney for the

17                  government, the person in charge of the corrections facility in which defendant

18                  is confined shall deliver the defendant to a United States Marshal for the

19                  purpose of an appearance in connection with a court proceeding; and

20          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

21                  counsel for the defendant, to the United States Marshal, and to the United States

22                  Pretrial Services Officer.

23                  DATED this 31st day of October.

24

25
                                                   A
                                                   JAMES P. DONOHUE
                                                   United States Magistrate Judge
26


     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 2
